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                   IN THE UNITED STATES DISTRICT COURT FoF                  ILED
                       THE WESTERN DISTRICT OF OKLAHOMA                    MAR - 6 2013
                                                                           ROBERTD. DENNI~ , CLERK
JAMES GLITZ and RODGER A.               )                         U,S. DIST. COURT, WESTERN DIST.OF OKlA.
THORNBERRY, on behalf of                )                             BY~                       DEPUTY
themselves and all others similarly     )
situated,                               )
                                        )
             Plaintiffs,                )
                                        )
vs.                                     )             No. CIV-12-1341-W
                                        )
SANDRIDGE ENERGY, INC., TOM L.          )
WARD, JAMES D. BENNETT and              )
MATTHEW K. GRUBB,                       )
                                        )
             Defendants.                )

LOUIS CARBONE, on behalf of             )

himself and all others similarly        )

situated,                               )

                                        )

              Plaintiff,                )

                                        )

vs.                                     )             No. CIV-13-19-W
                                        )

SANDRIDGE ENERGY, INC., TOM L.           )

WARD, JAMES D. BENNETT and              )

MATTHEW K. GRUBB,                       )

                                        )

              Defendants.               )


                                        ORDER

       These two matters were brought by purchasers of, and on behalf of all purchasers

of, securities of defendant SandRidge Energy, Inc. ("SandRidge"), between February 24 ,

2011, and November 8, 2012, for alleged violations of federal securities laws arising out

ofthe dissemination of allegedly false and misleading statements concerning SandRidge's

business and operational status and financial projections. Named as defendants are

SandRidge and three (3) individuals: Tom L. Ward, SandRidge Chairman and Chief
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Executive Officer, Matthew K. Grubb, SandRidge President and Chief Operating Officer,

and James O. Bennett, SandRidge Senior Vice President and Chief Financial Officer.

       The matters now come before the Court on the following pending motions. In Glitz

v . SandRidge Energy. Inc., No. CIV-12-1341-W ("Glitz"), the Court has under consideration

the Motion for Consolidation of the Actions, Appointment as Lead Plaintiff and Approval

of His Selection of Counsel [Doc. 25] filed on February 4,2013, by movant Jeff Nance, 1 the

Motion for Consolidation, Appointment as Lead Plaintiff and Approval of Lead Plaintiff's

Selection of Counsel [Doc. 29] filed on February 4,2013, by movants Laborers Pension

Trust Fund for Northern Nevada, Construction Laborers Pension Trust of Greater St. Louis,

Vladimir Galkin and Angelica Galkin (collectively "SandRidge Investor Group"), and the

Motion for Consolidation, Appointment as Lead Plaintiff and Approval of Lead Counsel

[Doc. 30] filed on February 4, 2013, by movant Henry Jovanelly.2

       In Carbonev. SandRidge Energy. Inc., No. CIV-13-19-W("Carbone"), the Court has

under consideration the Motion for Consolidation of the Actions, Appointment as Lead

Plaintiff and Approval of His Selection of Counsel [Doc. 12] filed on February 4, 2013, by

movant Nance 3 and the Motion for Consoiidation, Appointment as Lead Plaintiff and

Approval of Lead Plaintiff's Selection of Counsel [Doc. 16] filed on February 4,2013, by


       10n February 25, 2013, Nance withdrew his request in Glitz for appointment as Lead
Plaintiff and advised the Court that he supports the appointment of Laborers Pension Trust Fund
for Northern Nevada, Construction Laborers Pension Trust of Greater St. Louis, Vladimir Galkin
and Angelica Galkin (collectively "SandRidge Investor Group") as Lead Plaintiffs. See Doc. 54.

       20 n February 22, 2013, Jovanelly advised the Court in Glitz that he did not oppose the
appointment of SandRidge Investor Group as Lead Plaintiff. See Doc. 52.

         30 n February 25, 2013, Nance withdrew his request in Carbone for appointment as Lead
Plaintiff and advised the Court that he supports the appointment of SandRidge Investor Group as
Lead Plaintiff. See Doc. 34.

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movant SandRidge Investor Group.

       Upon review of the record, the Court

       (1) pursuant to Rule 42, F.R.Civ.P.,4 and by agreement of the named plaintiffs and

all movants, FINDS in its discretion that these two cases should be and are hereby

CONSOLIDATED for all pretrial proceedings and for trial;

        (2) FINDS that this consolidated action shall be designated as In re SandRidge

Energy. Inc. Securities Litigation and ORDERS that all pleadings and papers hereafter filed

shall bear the following caption and that such pleadings and papers shall only be filed in

Case No. 12-1341-W:

                     IN THE UNITED STATES DISTRICT COURT FOR

                         THE WESTERN DISTRICT OF OKLAHOMA

IN RE SANDRIDGE ENERGY, INC.                   )
SECURITIES LITIGATION                          )               No. CIV-12-1341-W


        (3) ORDERS that all pleadings and papers previously served and filed in Glitz and

Carbone shall be deemed a part of the record in the consolidated action;

        (4) pursuant to the Private Securities Litigation Reform Act of 1995 ("PSLRA"), 15




         4Consolidation is warranted "[i]f actions before the court involve a common question of law
or fact ...." Rule 42(a), F.R.Civ.P. Both Glitz and Carbone involve claims on behalf of purchasers
of SandRidge securities for alleged violations of the Securities Exchange Act of 1934, 15 U.S.C.
§§ 78j, 78t, and Securities and Exchange Commission ("SEC") Rule 10b-5 and name as
defendants SandRidge, Ward, Bennett and Grubb. Both cases are grounded on the same factual
and legal issues: whether the plaintiffs purchased SandRidge securities at artificially inflated prices
as a result of the defendants' allegedly false and misleading statements and whether the
defendants' conduct violated sections10(b) and 20(a), ~, 15 U.S.C. § 78j(b); id. § 78t(a), and
SEC Rule 10b-5. See Glitz, Doc. 1; Carbone, Doc. 1.

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U.S.C. § 78u-4(a)(3)(B),5 hereby APPOINTS as "Lead Plaintiff,6 in this consolidated action

the SandRidge Investor Group;7



         5The PSLRA, inter alia, sets forth the procedure for the appointment of a lead plaintiff. ~,
15 U.S .C. § 78u-4(a)(3). It provides that no "later than 20 days after the date on which the [first]
complaint is filed, the plaintiff or plaintiffs shall cause to be published, in a widely circulated national
business-oriented publication or wire service, a notice advising members of the purported plaintiff
class . . . (I) of the pendency of the action, the claims asserted therein, and the purported class
period ; and (II) that, not later than 60 days after the date on which the notice is published, any
member of the purported class may move the court to serve as lead plaintiff of the purported class ."
Id. § 78u-4(a)(3)(A)(i).
          The PSLRA further provides that no "later than 90 days after the date on which a notice is
published under subparagraph (A) (i) , the court shall consider any motion made by a purported
class member in response to the notice, including any motion by a class member who is not
individually named as a plaintiff in the complaint or complaints, and shall appoint as lead plaintiff
the member or members of the purported plaintiff class that the court determines to be most
capable of adequately representing the interests of class members .. .. " Id. § 78u-4(a)(3)(8)(i).
          The Court is statutorily mandated to "adopt a presumption that the most adequate plaintiff
.. . is the person or group of persons that­

        (aa) has either filed the complaint or made a motion in response to a notice under
        subparagraph (A)(i);

        (bb) .. . has the largest financial interest in the relief sought by the class; and

        (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
        Procedure."

jg. § 78u-4(a)(3)(8)(iii)(I). This presumption, however, "may be rebutted . . . upon proof by a
member of the purported plaintiff class that the presumptively most adequate plaintiff­

        (aa) will not fairly and adequately protect the interests of the class; or

        (bb) is subject to unique defenses that render such plaintiff incapable of adequately
        representing the class ."

Id. § 78u-4(a)(3)(8)(iii)(II).

        6Notice was published on December 5,2012, in Business Wire, Inc., a national business­
oriented wire service. See Glitz, Doc. 29-3; Carbone, Doc. 16-3. Thus, the deadline for filing a
motion for appointment as lead plaintiff in this consolidated action was February 4, 2013, see Rule
6(a), F.R.Civ.P., and all motions now under consideration were timely filed.

         71n determining lead plaintiff, the Court also considered the requests of the named plaintiffs,
Glitz, Thornberry and Carbone, who, although never moved to be appointed lead plaintiff, prayed
in their respective complaints that they should be "designat[ed] . . . as Lead Plaintiffs." Glitz, Doc.

                                                     4

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       (5) pursuant to the PSLRA, 15 U.S.C. § 78u-4(a)(3)(B)(v),B APPROVES the legal

counsel SandRidge Investor Group has selected and retained and hereby APPOINTS the

law firm of Robbins Geller Rudman & Dowd, LLP ("Robbins Geller"), as "Lead Counsel"

and the law firm of Derryberry & Naifeh, LLP ("Derryberry & Naifeh"), as "Liaison Counsel"

for the consolidated action;9

       (6) VESTS Robbins Geller as Lead Counsel with certain responsibilities and duties

and DIRECTS Robbins Geller on behalf of, and for, all plaintiffs,

               (a) to coordinate the preparation and filing of all subsequent

               pleadings, including a consolidated amended complaint, and

               to coordinate the preparation and filing of all papers and

                motions;

                (b) to act as spokesperson at all hearings and conferences;

                (c) to coordinate the briefing and argument of all motions;

                (d) to coordinate and conduct all discovery, including the




1 at 33; ~, Carbone, Doc. 1 at 30.
        Because the presumption has not been rebutted in this instance, the Court FINDS at this
stage of the litigation that the SandRidge Investor Group satisfies all statutory and Rule 23
requirements for lead plaintiff: it filed a timely request for appointment as lead plaintiff; it has the
largest financial interest in this consolidated action, ~ , Glitz, Doc. 29-4; Carbone, Doc. 16-4; it
has claims that are typical of those of the proposed class; and it will fairly and adequately protect
the interests of the proposed class.

        8The PSLRA also governs the selection of lead counsel and provides in pertinent part that
"[t]he most adequate plaintiff shall, subject to the approval of the court, select and retain counsel
to represent the class ." 15 U.S.C. § 78u-4(a)(3)(B)(v).

       9Robbins Geller's resume, see Glitz, Doc. 29-5; Carbone, Doc. 16-5, and DerryBerry &
Naifeh's reputation in this community establish that these firms are both highly qualified to act as
Lead Counsel and Liaison Counsel, respectively. See United Food & Commercial Workers Union
v. Chesapeake Energy Corp., 281 F.R.D. 641 , 654 (W.O. Okla. 2012) .

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               preparation of all written discovery and the examination of all

               deponents, to consult with and employ experts and to

               coordinate and conduct all other pre-trial proceedings;

               (e) to coordinate all trial preparation and to direct and   ~onduct


               all trial proceedings;

               (f) to initiate and conduct all settlement negotiations;

               (g) to coordinate the activities of other counsel to ensure the

               orderly and efficient prosecution of this litigation and to prevent

               duplicative and unproductive efforts; and

               (h) to supervise all matters concerning the prosecution and/or

               resolution of the cons,?lidated action, to delegate such tasks as

               may be necessary and to perform such other duties as

               required by the Court;

       (7) ADVISES the parties that all agreements made with, and by, Lead Counsel shall

be binding on all plaintiffs;

       (8) accordingly, in Glitz, GRANTS in part and DENIES in part Nance's Motion for

Consolidation of the Actions, Appointment as Lead Plaintiff and Approval of His Selection

of Counsel [Doc. 25] filed on February 4, 2013, GRANTS SandRidge Investor Group's

Motion for Consolidation, Appointment as Lead Plaintiff and Approval of Lead Plaintiffs

Selection of Counsel [Doc. 29] filed on February 4, 2013, and GRANTS in part and

DENIES in part Jovanelly's Motion for Consolidation, Appointment as Lead Plaintiff and

Approval of Lead Counsel [Doc. 30] filed on February 4,2013;

       (9) 	 in Carbone, GRANTS in part and DENIES in part Nance's Motion for

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Consolidation of the Actions, Appointment as Lead Plaintiff and Approval of His Selection

of Counsel [Doc. 12] filed on February 4, 2013, and GRANTS SandRidge Investor Group's

Motion for Consolidation, Appointment as Lead Plaintiff and Approval of Lead Plaintiff's

Selection of Counsel [Doc. 16] filed on February 4, 2013;

       (10) ESTABLISHES the following deadlines 10 in this matter:

               (a) within forty-five (45) days of the date of this Order, Robbins

               Geller on behalf of Lead Plaintiff SandRidge Investor Group

               shall file a consolidated amended complaint;

               (b) defendants SandRidge, Ward, Bennett and Grubb shall

               answer or otherwise respond to the allegations in the

               consolidated amended complaint within forty-five (45) days

               thereafter;

               (c) SandRidge Investor Group shall file its response to any

               motion to dismiss, if such motion is filed by the defendants,

               forty-five (45) days after the motion is filed; and

               (d) the defendants shall file their reply, if any, to SandRidge

               Investor Group's response within thirty (30) days after such

               response, if any, is filed; and

       (11) DIRECTS the Clerk of the Court to file this Order in Glitz, No. CIV-12-1341-W,




        100n February 7, 2013, the Court advised the parties in Glitz and Carbone that it intended
to defer ruling on the parties' requests for a scheduling order until such time as it had resolved the
issues of consolidation and appointment of lead plaintiff and lead and liaison counsel. See Glitz,
Doc. 41; Carbone, Doc. 22. Having now resolved these issues, the Court GRANTS the Joint
Motions for Scheduling Order filed on February 6, 2013. See Glitz, Doc. 40; Carbone, Doc. 21.

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and in Carbone, No. CIV-13-19-W.

      ENTERED this   (pti   day of March, 2013.




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